 Court       0
          Case   20G00498     Pty D01
          Case4:21-cr-20405-MFL-CI ECF No.       PageID.68 VIO
                                           16-4, DOMESTIC
                                       Charge                     Type SM
                                                           Filed 09/28/21   Status
                                                                          Page 1 of 1 CLSD
Name GARZA,/NOE/                                 Sear ch
             CONTEMPT/FAIL TO APPEAR                                                                               GFP
             DEF FAILED TO APPEAR FOR      A   PRETRIAL ON   7/                                                    GFP
             2B/2O AT 8:3OAM                                                                                       GFP
  07   /30/20
             MISCELLANEOUS      ACTION ALL COUNTS                                                                  CKC
             JDG PERRY,NATHANIEL C.,                                                                     P-37492   CKC
             CASH OR SIIRETY                                                                                       CKC
             BOND SET
             DEFENDANT FAILED TO APPEAR FOR COURT DATE
                                                                             $   sooo.oo                           CKC
                                                                                                                   CKC
             CASE SENT TO WARRANTS                                                                                 CKC
  08/03/20
             MISCELLANEOUS      ACTION ALL COUNTS                                                                  AB
             WARRANT ENTERED INTO LEIN                                                                             AB
             LEIN ENTERED BENCH WARRANT                                                                            AB
             c/s 5000                                                                                              AB
             WARRANT ENTRY      REQUESTED 80320     1155A                                                          AB
             SYSIDNO    (20:)   GENERATED BY LEIN
                                                                                                            More. . .
NXT    ROA    CASE 2OGOO498 PTY        p01 @uNT 00   INQ                                        ST-
 F1-Top F2-Bottom F9-Print              F1O-View                  F          tQ F3/F24-Prior                 PageU/D




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